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                            United States District Court
                                   EASTERN DISTRICT OF TEXAS
                                       SHERM AN DIVISION


 UNITED STATES OF AMERICA                         §
                                                  §
 vs.                                              §            Case No. 4:05cr173
                                                  §            (Judge Schneider)
 EUGENE GRIFFIN, SR. (3)                          §

                              REPORT AND RECOMMENDATION
                           OF UNITED STATES MAGISTRATE JUDGE

        Pending before the Court is the request for revocation of Defendant’s supervised release.

 After the District Judge referred the matter to this Court for a report and recommendation, the Court

 conducted a hearing on March 17, 2010, to determine whether Defendant violated his supervised

 release. Defendant was represented by Denise Benson. The Government was represented by Chip

 Roy.

        On October 18, 2006, Defendant was sentenced by the Honorable Michael H. Schneider to

 fifty-one (51) months’ custody followed by three (3) years of supervised release for the offense of

 Conspiracy to Distribute or Dispense or Possess with Intent to Distribute or Dispense Cocaine Base

 and Marijuana. On March 17, 2008, Defendant’s term of imprisonment was reduced to thirty-seven

 (37) months. On June 5, 2008, Defendant completed his period of imprisonment and began service

 of his supervised term.

        On January 29, 2010, the U.S. Pretrial Services Officer executed a Petition for Warrant for

 Offender Under Supervision.       The petition asserted that Defendant violated the following

 conditions: (1) the defendant shall report to the probation officer as directed by the Court or

 probation officer and shall submit a truthful and complete written report within the first five days

 of each month; (2) the defendant shall refrain from any unlawful use of a controlled substance and

 the defendant shall submit to one drug test within fifteen days of release from imprisonment and at
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 least two periodic drug tests thereafter, as directed by the probation officer; (3) the defendant shall

 refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer

 any controlled substance, or any paraphernalia related to any controlled substances, except as

 prescribed by a physician; and (4) the defendant shall notify the probation officer within seventy-

 two hours of being arrested or questioned by a law enforcement officer.

        The petition alleges that Defendant committed the following acts: (1) the defendant failed

 to submit written monthly reports for the months of December 2008, January, May, June, September,

 October, and December 2009 within the first five days of the month; (2) the defendant submitted a

 urine specimen on February 17, 2009, that tested positive for cocaine; and (3) the defendant failed

 to notify the U.S. Probation Office of his arrest on January 4, 2010. During an unscheduled home

 visit on January 12, 2010, the defendant notified his officer of the arrest.

        Prior to the Government putting on its case, Defendant entered a plea of true to all of the

 violations based upon the agreement that the Government would dismiss some of the violations and

 the agreement to a seventeen-month sentence.

                                       RECOMMENDATION

        The Court recommends that the District Judge revoke Defendant’s supervised release. The

 Court recommends that Defendant be committed to the custody of the Bureau of Prisons to be

 imprisoned for a term of seventeen (17) months with no supervised release to follow. It is also

 recommended that Defendant be housed in the Bureau of Prisons, Seagoville Unit.
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            After the Court announced the recommended sentence, Defendant executed the consent to

     revocation of supervised release and waiver of right to be present and speak at sentencing.

     Defendant and the Government also waived their right to file objections.

            SIGNED this 18th day of March, 2010.




                                          ___________________________________
                                          AMOS L. MAZZANT
                                          UNITED STATES MAGISTRATE JUDGE
